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proofs of service and stipulations extending time to respond. If necessary, plaintiff(s) must also pursue Rule 55 remedies
promptly upon the default of any defendant. All stipulations affecting the progress of the case must be approved by this
Court. (Local Rules 7-1 and 7-2).


No oral argument of this matter will be heard unless ordered by the Court. The Order will stand submitted upon the filing
of a responsive pleading or motion on or before the date upon which a response by plaintiff(s) is due. This action will be
dismissed if the above mentioned documents are not filed by the date indicated above.


IT IS SO ORDERED.


cc: all counsel




         CV-90 (12/02)                               CIVIL MINUTES - GENERAL                Initials of Deputy Clerk YS
